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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 16153772
Notice of Service of Process                                                                            Date Processed: 01/25/2017

Primary Contact:           Service Process Team 3-11-309
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215

Electronic copy provided to:                   Rebecca Lewis
                                               Kevin Jones
                                               Cassandra Struble

Entity:                                       Nationwide Property And Casualty Insurance Company
                                              Entity ID Number 3286574
Entity Served:                                Nationwide Property & Casualty Insurance Company
Title of Action:                              David Boyd vs. Nationwide Property and Casualty Insurance Company; Ryan
                                              Curtis
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Bexar County District Court, Texas
Case/Reference No:                            2016CI22171
Jurisdiction Served:                          Texas
Date Served on CSC:                           01/25/2017
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Haun Mena, PLLC
                                              N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                               To avoid potential delay, please do not send your response to CSC
                        2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 | sop@cscglobal.com
                 Case 5:17-cv-00123-XR Document 1-1 Filed 02/17/17 Page 2 of 31
PRIVATE PROCESS
                                                                                         2816CI22171   seeee1
                                           Case Number: 2016-CI-22171
D.~rVID   BDYD
vs.                                                                                           IN THE DISTRICT COURT
NATIONWIDE PROPERTY &CASUALTY INSURANC                                                        285th JUDICIAL DISTRICT
(Note:Attached Document May Contain Additional Litigants.)
                                                                                              BEXAR COUNTY, TEXAS
                                                          CITATION
 "THE STATE OF TEXAS"
 Directed To: NATIONWIDE PROPERTY &CASUALTY INSURANCE COMPANY
              BY SERVING ITS ATTORNEY FOR SERVICE: CORPORATION SERVICE
              COMPANY




 "You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk
  who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were
 served this citation and petition, a default judgment may be taken against you." Said petition was filed on the 30th
 day of December, 2016.
 ISSUED UNDER MY HAND AND SEAL OF SAID COURT ON THIS 4TH DAY OF JANUARY A.D., 2017.
 PETITION


                                                                       Donna Kay M£Kinney
 RYAN K HAUN
                                                                       Bexar County District Clerk
 ATTORNEY FOR PLAINTIFF
                                                                       101 W. Nueva, Suite 217
 3006 BRAZOS ST                                                        San Antonio, Texas 78205
 HOUSTON, TX 77006-3418
                                                                       By:   Ofivia Cruz,         Deputy

                                                   OFFICER'S RETURN
I received this citation on                 at             o'clock _M. and:(           ) executed
it by delivering a copy of the citation with the date of delivery endorsed on it to the
defendant,                          in  person    on    the                                     at
_ _ _ _o'clock _M. at: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ or (                     ) not executed
because                                        Fees: _ _ _ _ _ Badge/PPS #: _ _ _ __
Date certification expires: _ _ _ _ _ _ _ _ __
                                                     - , - - - - - - - - - - - C o u n t y , Texas

                                                                      By: _ _ _ _ _ _ _ _ _ _ _ _ _ ____
OR:       VERIFICATION     OF    RETURN      (If    not      served   by     a   peace      officer)       SWORN   TO   this


                                                                        NOTARY PUBLIC, STATE OF TEXAS

OR:   My name is _ _ _ _ _ _ _ _ _ _ , my date of birth is _ _ _ _ _ _ _ _ , and my
address is                                                            (County).
I declare under penalty of perjury that the foregoing is true and correct.   Executed in
_ _ _ _ _ _ _ _County, State of Texas, on the           day of              20


                                                                      Declarant               ORIGINAL (DK882)
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F!LED
12/30/2016 1:49 13 PM
                                                                                            2 cits pps/sac1 m/o
Donna ~~ay McKinney
Beii'ar County District Clerk
A~cepted· tiy: Laur'a Rodriguez


                                                          CAUSE No2016CI22171

                    DAVID BOYD,                                      §          IN THE DISTRICT COURT OF
                         Plaintiff,                                  §
                                                                     §
                    v.                                               §          BEXAR COUNTY, TEXAS
                                                                     §
                    NATIONWIDE PROPERTY &                            §
                    CASUALTY INSURANCE COMPANY,                      §
                    AND RYAN CURTIS                                  §
                         Defendants.                                 §
                                                                     §        285th      JUDICIAL DISTRICT


                                               PLAINTIFF'S ORIGINAL PETITION


                    TO THE HONORABLE JUDGE OF SAID COURT:

                             COMES NOW, David Boyd, hereinafter referred to as Plaintiff, complaining of

                    Nationwide Property & Casualty Insurance Company ("Nationwide"), and Ryan Curtis

                    ("Curtis") (hereinafter collectively referred to as "Defendants") and for cause of action

                    would respectfully show unto this Honorable Court and Jury as follows:

                                                          I.
                                               DISCOVERY CONTROL PLAN

                             I.    Plaintiff intends foLdiscovery to be conducted under Level 2 of Rule 190

                    of the Texas Rules of Civil Procedure.

                                                               II.
                                                             PARTIES

                             2.    Plaintiff is an individual residing in Bexar County, Texas.

                             3.    Defendant Nationwide is a domestic insurance company engaging in the

                    business of insurance in the State of Texas. This Defendant may be served with process by

                    serving its attorney for service: Corporation Service Company, 211 E 7th Street, Suite 160,

                    Austin, Texas 78701.
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'~   '




                 4.      Defendant Curtis is an individual residing in Polk County, Iowa and may be

         served with process at the following address: One Nationwide Gateway Department 5582

         NCRO, Des Moines, Iowa 50391.

                 5.      The Clerk is requested to issue Citations.

                                                      III.
                                                 JURISDICTION

                 6.      Plaintiff stipulates that the damages in this matter are between $200,000 and

         $1,000,000, excluding interest and costs, and that the damages are within the jurisdictional

         limits of the court. Plaintiff contends that the determination of damages is within the sole

         discretion ofthe Judge and Jury, but makes the stipulation as required by TEX.R.CJv.P. 47.

                 7.      The court has jurisdiction over Defendant Nationwide because this
                                                                 \_
         Defendant engages in the business of insurance in the State ofTexas and Plaintiff's causes

         of action arise out ofthis Defendant's business activities in the State ofTexas.

                 8.      The court has jurisdiction over Defendant Curtis because this Defendant

         engages in the business of adjusting insurance claims in the State of Texas and Plaintiff's

         . causes of action arise out of this Defendant's business activities in the State of Texas.

                                                         IV.
                                                      VENUE
                 9.      Venue is proper in Bexar County, Texas, because the insured property is

         located in Be":ar County, Texas. TEX.CIV.PRAC.REM.CODE §15.032.

                                                            v.
                                                   FACTS
                  I 0.   Plaintiff is the owner of a homeowners insurance policy (hereinafter

         referred to as "the Policy"), which was issued by Defendant Nationwide. Plaintiff owns the

         insured property, ,which is specifically located at 12518 Chapel Bell Street, San Antonio,

         Texas, 78230 (hereinafter referred to as "the Property").


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        II.    Defendant Nationwide sold the Policy insuring the Property to the Plaintiff.

        12.   . Plaintiff experienced a fallen object event and a weather event which caused

substantial damage to the Property and constituted covered losses under the Policy issued

by Defendant Nationwide. Plaintiff opened a claim with Nationwide, only to have that

claim denied. Defendant Nationwide assigned a date of loss of April 12, 2016 to the claim.

Defendant Nationwide wrongfully denied Plaintiffs claims and refused to issue a full and

fair payment for the loss.

        13.    Defendant Curtis was assigned to adjust the claim. On October 18, 20 16,

after a review of the original claim, Defendant Curtis sent a letter denying the claim. The

letter claimed the damage to the Property was caused by age, wear and tear, and therefore,

not within the scope and coverage of the insurance policy.

        14.    Defendant Curtis made numerous errors in estimating the value and cause

of Plaintiffs April 12, 2016 claim, all designed to minimize the loss incurred by the

Plaintiff. The estimate provided by Defendant Curtis failed to properly quantify the origin

of the Plaintiffs damages, demonstrating that he did not conduct a thorough investigation

of Plaintiffs claim. Defendant Curtis misrepresented of the policy benefits available to

Plaintiff. Further, based on information and belief, Defendant Curtis does not possess a

valid adjusting license in the State ofTexas.

        15.    Defendant Nationwide failed to perform its contractual duties to adequately

compensate Plaintiff under the terms of the Policy in effect during Plaintiffs loss.

Specifically, Defendant refused to pay the full proceeds owed under the Policy, although

due demand was made for proceeds to be paid in amount sufficient to cover the damaged

property and all conditions precedent to recovery upon the Policy in question had been



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carried out and accomplished by Plaintiff. Defendant Nationwide's conduct constitutes a

breach of the insurance contract between Defendant Nationwide and Plaintiff.

       16.     Defendants misrepresented to the Plaintiff that the damage to the Property

was not covered under the Policy, even though the damage was caused by a covered

occurrence. Defendants' conduct constitutes a violation of the Texas Insurance Code,

Unfair Settlement Practices. TEX.INS.CODE §541.060(a)(l ).

       17.     Defendants failed to make an attempt to settle Plaintiffs claim in a fair

manner, although Defendants were aware of their liability to Plaintiff under the Policy.

Defendants' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX.INS.CODE §541.060(a)(2)(a).

       18.     Defendants failed to explain to Plaintiff the reasons for their offer of an

inadequate settlement. Specifically, Defendants failed to offer Plaintiff adequate

compensation, without any explanation why full payment was not being made.

Furthermore, Defendants did not communicate that any future settlements or payments

would be forthcoming to pay for the entire loss covered under the Policy, nor did

Defendants provide any explanation for the failure to adequately settle Plaintiffs claims.

Defendants' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX.INS.CODE §541.060(a)(3).

       19.     Defendants failed to affirm or deny coverage of Plaintiffs claims within a

reasonable time. Specifically, Plaintiff did not receive timely indication of acceptance or

rejection, regarding the full and entire claim, in writing from Defendants. Defendants'

conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices.

TEX.INS.CODE §541.060(a)(4).



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       20.     Defendants refused to fully compensate Plaintiff, under the terms of the

Policy, even though-Defendants failed to conduct a reasonable investigation. Specifically,

Defendants performed an outcome-oriented investigation of Plaintiff's claims, which

resulted in a biased, unfair, and inequitable evaluation of Plaintiff's claims, which resulted

in a biased, unfair, and inequitable evaluation of Plaintiff's loss on the Property.

Defendants' conduct constitutes a violation ofthe Texas Insurance Code, Unfair Settlement

Practices. TEX.INS.CODE §541.060(a)(7).

       21.     Defendant Nationwide failed to meet its obligations under the Texas

Insurance Code regarding the timely acknowledgement of Plaintiff's claims, beginning an

investigation of Plaintiff's claims, and requesting all information reasonably necessary to

investigate Plaintiff's claim within the statutorily mandated time of receiving notice of

Plaintiff's claims. Defendant Nationwide's conduct constitutes a violation of the Texas

Insurance Code, Prompt Payment of Claims. TEX.INS.CODE §542.055.

       22.     Defendant Natiowide failed to accept or deny Plaintiff's full and entire

claim within the statutorily mandated time of receiving all necessary information.

Defendant Nationwide's conduct constitutes a violation of the Texas Insurance Code,

Prompt Payment of Claims. TEX.INS.CODE §542.056.

       23.     Defendant Nationwide failed to meet its obligations under the Texas

Insurance Code regarding payment of claims without delay. Specifically, Defendant

Nationwide has delayed full payment of Plaintiff's claims longer than allowed and, to date,

Plaintiff has not yet received full payment for their claims. Defendant Nationwide's

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims.

TEX.INS.CODE §541.058



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       24.        From and after the time Plaintiffs claim was presented to Defendant

Nationwide, the liability of Defendant Nationwide to pay the full claim in accordance with

the terms of the Policy was reasonably clear. However, Defendant Nationwide has refused

to pay Plaintiff in full, despite there being no basis whatsoever on which a reasonable

insurance company would have relied on to deny the full payment. Defendant Nationwide's

conduct constitutes a breach of the common law duty of good faith and fair dealing.

       25.        Defendants knowingly or recklessly made false representations, as

described above, as to material facts and/or knowingly concealed material information

from Plaintiff.

       26.        As a result of Defendants' wrongful acts and omissions, Plaintiff was forced

to retain the professional services of the law firm who is representing Plaintiff with respect

to these causes of action.

                                              VI.
                                   CAUSES OF ACTION

       A.         CAUSES OF ACTION AGAINST DEFENDANT CURTIS

                             TEXAS INSURANCE CODE VIOLATIONS

       27.        Defendant Curtis's conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices. TEX.INS.CODE §541.060(a). All violations

under this article are actionable by TEX.INS.CODE §541.151.

       28.        Defendant Curtis is individually liable for his unfair and deceptive acts,

irrespective of the fact he was acting on behalf of Defendant Nationwide, because he meets

the definition of a "person" as defined by TEX.INS.CODE §541.002(2). The term "person"

is defined as "any individual, corporation, association, partnership, reciprocal or

interinsurance exchange, Lloyds plan, fraternal benefit society, or other legal entity


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engaged in the business of insurance, including an agent, broker, adjuster or life and health

insurance counselor." TEX.INS.CODE §541.002(2) (emphasis added). (See also Liberty

Mutual Insurance Co.         v.   Garrison Contractors, Inc.,     966 S.W.2d 482, 484

(Tex.1998)(holding an insurance company employee to be a "person" for the purpose of

bringing a cause of action against them under the Texas Insurance Code and subjecting'

them to individual liability).

        29.     Defendant Curtis's unfair settlement practice, as described above, of

refusing to pay Plaintiffs claim without conducting a reasonable investigation, constitutes

an unfair method of competition and an unfair and deceptive act or practice in the business

of insurance. TEX.INS.CODE §541.060(7)

        30.     Defendant Curtis's failure to satisfy the statutory licensing requirement as

an adjuster in this state constitutes an unfair and deceptive act or practice in the business

of insurance. TEX.INS.CODE §41 01.051

        31.     Defendant Curtis's conduct described above compelled Plaintiffto initiate

a lawsuit to recover amounts due under the Policy by offering no payment for the damage.

Defendant Curtis refused to offer any payment under the Policy. This failure compelled

Plaintiffto file suit. TEX.INS.CODE §542.003(5).

        B.      CAUSES OF ACTION AGAINST DEFENDANT NATIONWIDE

        32.     Defendant Nationwide is liable to Plaintiff for intentional breach of

contract, as well as intentional violations of the Texas Insurance Code and intentional

breach of the common law duty of good faith and fair dealing




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                                     BREACH OF CONTRACT

       33.     Defendant Nationwide's conduct constitutes a breach of the insurance

contract made between Defendant Nationwide and Plaintiff.

       34.     Defendant Nationwide's failure and refusal, as described above, to pay the

adequate compensation it is obligated to pay under the terms of the Policy in question and

under the laws of the State of Texas, constitutes a breach of Defendant Nationwide

insurance contract with Plaintiff.

 NONCOMPLIANCE WITH TEXAS INSURANCE CODE: UNFAIR SETTLEMENT PRACTICES

       35.     Defendant Nationwide's conduct constitutes multiple violations of the

Texas Insurance Code, Unfair Settlement Practices. TEX.INS.CODE §541.060(a). All

violations under this article are made actionable by TEX.INS.CODE §541.151.

       36.     Defendant Nationwide's unfair settlement practice, as described above, of

misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX.INS.CODE §541.060( I).

       37.     Defendant Nationwide's unfair settlement practice, as described above, of

failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the

claim, even though Defendant Nationwide's liability under the Policy was reasonably clear,

constitutes an unfair method of competition and an unfair and deceptive act or practice in

the business of insurance. TEX.INS.CODE §541.060(2)(A).

       38.     Defendant Nationwide's unfair settlement practice, as described above, of

failing to promptly provide Plaintiff with a reasonable explanation of the basis in the

Policy, in relation to the facts or applicable law, for its offer of a compromise settlement



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of the claim, constitutes an unfair method of competition and an unfair and deceptive act

or practice in the business of insurance. TEX.INS.CODE §541.060(3).

       39.     Defendant Nationwide's unfair settlement practice, as described above, of

refusing to pay Plaintiffs claim without conducting a reasonable investigation, constitutes

an unfair method of competition and an unfair and deceptive act or practice in the business

of insurance. TEX.INS.CODE §541.060(7).

       40.     Defendant Nationwide's conduct described above compelled Plaintiff to

initiate a lawsuit to recover amounts due under the Policy by offering no payment for the

damage. Defendant Nationwide refused to offer any payment under the Policy. This failure

compelled Plaintiffto file suit. TEX.INS.CODE §542.003(5).

NONCOMPLIANCE WITH TEXAS INSURANCE CODE: THE PROMPT PA VMENT OF CLAIMS

       41.     Defendant Nationwide's conduct constitutes multiple violations of the

Texas Insurance Code, Prompt Payment of Claims. All violations made under this article
                                                 1
are made actionable by TEX.INS.CODE §542.060.

       42.     Defendant Nationwide's failure to acknowledge receipt of Plaintiffs claim,

and request from Plaintiff all items, statements, and forms that they reasonably believed

would be required within the applicable time constraints, as described above, constitutes a

non-prompt payment of claims and a violation of the TEX.INS.CODE §541.055.

       43.     Defendant Nationwide's failure to notify Plaintiff in writing of its

acceptance or rejection of the claims within the applicable time constraints constitutes a

non-prompt payment of claims within the applicable time constraints and a violation of

TEX.INS.CODE §541.056.




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       44.     Defendant Nationwide's delay of the payment of Plaintiffs claims

following its receipt of all items, statements, and forms reasonably requested and required,

for longer than the amount of time provided for, as described above, constitutes a non-

prompt payment of the claims. TEX.INS.CODE §541.058.

               BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

       45.     Defendant Nationwide's conduct constitutes a breach of the common law

duty of good faith and fair dealing owed to insured in insurance contracts.

       46.     Defendant Nationwide's failure, as described above, to adequately and

reasonably investigate and evaluate Plaintiffs claim, although, at       th~   time, Defendant

Nationwide knew or should have known by the exercise of reasonable diligence that its

liability was reasonably clear, constitutes a breach ofthe duty of good faith and fair dealing.

                                         VII.
                                      KNOWLEDGE

       47.     Each of the acts described above, together and singularly, was done

"knowingly" as the term is used in the Texas Insurance Code and was a producing cause

of Plaintiffs damages described herein.

                                           VIII.
                                         DAMAGES

       48.     Plaintiff will show that all of the aforementioned acts, taken together or

singularly, constitute the producing cause ofthe damages sustained by Plaintiff.
                                       \..

       49.     For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiffs

bargain, which is the amount of Plaintiffs claim, together with attorney fees.

       50.     For noncompliance with the Texas Insurance Code, Unfair Settlement

Practices, Plaintiff is entitled to actual damages, which includes the loss ofthe benefits that



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 should have been paid pursuant to the Policy, mental anguish, court costs, and attorney's

 fees. For knowing conduct of the acts complained of, Plaintiff asks for three times

 Plaintiffs actual damages. TEX.INS.CODE § 541.152.

         51.     For breach of common law duty of good faith and fair dealing, Plaintiff is

 entitled to compensatory damages, including all forms of loss resulting form the insurer's

 breach of duty, such as additional costs, economic hardship, losses due to nonpayment of

 the amount the insurer owed, exemplary damages, and damages for emotional distress.

         52.     For the prosecution and collection of this claim, Plaintiff has been

 compelled to engage the services of the law firms whose name are subscribed to this

 pleading. Therefore, Plaintiff is entitled to recover a sum for the reasonable and necessary

 services of Plaintiffs attorney in the preparation of this action, including any appeals to

 the Court of Appeals and/or the Supreme Court of Texas.

                                           IX.
                                      JURY DEMAND

         53.     Plaintiff hereby requests that all causes of action alleged herein be tried

 before a jury consisting of citizens residing in Bexar County, Texas. Plaintiff hereby

· tenders the appropriate jury fee.

                                             X.
                                 DISCOVERY REQUESTS

         54.     Pursuant to Texas Rule of Civil Procedure 194, Plaintiff requests that

 Defendants disclose the information or material described in Rule 194.2.

         55.     Defendants are also requested to respond to the attached interrogatories,

 requests for production, and requests for admission within fifty (50) days of service.




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                                        PRAYER
        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof,

said Plaintiff has and recover such sums as would reasonably and justly compensate

Plaintiff in accordance with the rules of law and procedure, both as to actual damages,

statutory penalties and interest, treble damages under the Texas Insurance Code, and all

punitive and exemplary damages as may be found. In addition, Plaintiff requests the award

of attorney's fees for the trial and any appeal of this case, for all costs of Court on her

behalf expended, for pre-judgment and post-judgment interest as allowed by law, and for

any other and future relief, either at law or in equity, to which Plaintiff may show himself

to be justly entitled.


                                             Respectfully submitted,

                                             HAUN MENA, PLLC


                                             By: /s/ Ryan K. Haun

                                                     RYAN K. HAUN
                                                     State Bar No.: 24055634
                                                     D. DOUGLAS MENA
                                                     State Bar No.: 24054982
                                                     3006 Brazos Street
                                                     Houston, Texas 77006
                                                     (713) 781-8600- Telephone
                                                     (713) 781-8601- Fax
                                                     ryan@haunmena.com
                                                     doug@haunmena.com

                                                     ATTORNEYS FOR PLAINTIFF




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                                  CERTIFICATE OF SERVICE

        I hereby certify that I sent a true and correct copy of the attached discovery requests
to Defendant(s) as an attachment to the petition. These discovery requests were served with
the attached petition and were served by mail, personal service or publication.

                                                       Is/ Ryan K. Haun
                                                       Ryan K. Haun




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                                                                               I




                                      INSTRUCTIONS


A.       These Responses call for your personal and present knowledge, as well as the
         present knowledge of your attorneys, investigators and other agents, and for
         infonnation available to you and to them.

B.       Pursuant to the applicable rules of civil procedure, produce all documents
         responsive to these Requests for Production as they are kept in the usual course of
         business or organized and labeled to correspond to the categories in the requests
         within the time period set forth above at Haun Mena, PLLC.

C.       If you claim that any document or infonnation which is required to be identified or
         produced by you in any response is privileged, produce a privilege log according
         to the applicable rules of civil procedure.

         1.   Identify the document's title and general subject matter;
         2.   State its date;
         3.   Identify all persons who participated in its preparation;
         4.   Identify the persons for whom it was prepared or to whom it was sent;
         5.   State the nature of the privilege claimed; and
         6.   State in detail each and every fact upon which you base your claim for privilege.

D.       If you claim that any part or portion of a document contains privileged information,
         redact only the part(s) or portion(s) of the document you claim to be privileged.

E.       If you cannot answer a particular Interrogatory in full after exercising due diligence
         to secure the information to do so, please state so and answer to the extent possible,
         specifying and explaining your inability to answer the remainder and stating
         whatever infonnation or knowledge you have concerning the unanswered portion.

F.       You are also advised that you are under a duty to seasonably amend your responses
         if you obtain infonnation on the basis ofwhich:

         I. You know the response made was incorrect or incomplete when made; or
         2. You know the response, though correct and complete when made, is no
            longer true and complete, and the circumstances




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                                          DEFINITIONS

A.       "Defendant," "You," "Your(s)," refers to Nationwide Property & Casualty
         Insurance Company, its agents, representatives, employees and any other entity or
         person acting on its behalf.

B.       "Plaintiff' refers to the named Plaintiff in the above-captioned suit.

C.       "The Property(ies)" refers to the property or properties located at the address(es)
         covered by the Policy.

D.       "The Policy" refers to the policy issued to Plaintiff by the insurer and at issue in
         this lawsuit.
                                      J

E.       "The Claim(s)" means the claim for insurance benefits submitted by Plaintiff and
         at issue in this lawsuit, or in a prior claim, as the context may dictate.

F.       "Date of Loss" refers to the date(s) of loss identified in Plaintiff's live
         petition/complaint or other written or oral notice, or otherwise assigned to the claim
         by the insurer.

G.       "Handle" or "Handled" means investigating, adjusting, supervising, estimating,
         managing, settling, approving, supplying information or otherwise performing a
         task or work with respect to the claim(s) at issue in this lawsuit, excluding purely
         ministerial or clerical tasks.

H.       "Lawsuit" refers to the above styled and captioned case.

I.       "Communication" or "communications" shall mean and refer to the transmission
         or exchange of information, either orally or in writing, and includes without
         limitation any conversation, letter, handwritten notes, memorandum, inter or
         intraoffice correspondence, electronic mail, text messages, or any other electronic
         transmission, telephone call, telegraph, telex telecopy, facsimile, cable, conference,
         tape recording, video recording, digital reco,rding, discussion, or face-to-face
         communication.

J.       The term "Document" shall mean all tangible things and data, however stored, as
         set forth in the applicable rules of civil procedure, including, but not limited to all
         original writings of any nature whatsoever, all prior drafts, all identical copies, all
         nonidentical copies, correspondence, notes, letters, memoranda of telephone
         conversations, telephone messages or call slips, interoffice memoranda, intraoffice ·
         memoranda, client conference reports, files, agreements, contracts, evaluations,
         analyses, records, photographs sketches, slides, tape recordings, microfiche,
         communications, printouts, reports, invoices, receipts, vouchers, profit and loss
         statements, accounting ledgers, loan documents, liens, books of accounting, books
         of operation, bank statements, cancelled checks, leases, bills of sale, maps, prints,


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        insurance policies, appraisals, listing agreements, real estate closings, documents,
        studies, summaries, minutes, notes, agendas, bulletins, schedules, diaries,
        calendars, logs, announcements, instructions, charts, manuals, brochures,
        schedules, price lists, telegrams, teletypes, photographic matter, sound
        reproductions, however recorded, whether still on tape or tra~scribed to writing,
        computer tapes, diskettes, disks, all other methods or means of storing data, and
        any other documents. In all cases where originals, prior drafts, identical copies, or
        nonidentical copies are not available; "document" also means genuine, true and
        correct photo or other copies of originals, prior drafts, identical copies, or
        nonidentical copies. "Document" also refers to any other material, including
        without limitation, any tape, computer program or electronic data storage facility
        in or on which any data or information has been written or printed or has been
        temporarily or permanently recorded by mechanical, photographic, magnetic,
        electronic or other means, and including any materials in or on which data or
        information has been recorded in a manner which renders in unintelligible without
        machine processing.

K.      The term "referring" or "relating" shall mean showing, disclosing, averting to,
        comprising, evidencing, constituting or reviewing.

L.      The singular and masculine form of any noun or pronoun includes the plural, the
        feminine, and the neuter.
                                                                           (

M.      The terms "identification," "identify," and "identity" when used in reference to:

     I. Natural Persons: Means to state his or her full name, residential address, present
        or last known business address and telephone number, and present or last known
        position and business affiliation with you;
     2. Corporate Entities: Means to state its full name and any other names under which
        it does business, its form or organization, its state of incorporation, its present or
        last known address, and the identity of the officers or other persons who own,
        operate, or control the entity;
     3. Documents: Means you must state the number of pages and nature ofthe document
        (e.g. letter or memorandum), its title, its date, the name or names of its authors and
        recipients, its present location and custodian, and if any such document was, but no
        longer is, in your possession or control, state what disposition was made of it, the
        date thereof, and the persons responsible for making the decision as to such
        disposition;        '
     4. Communication: Requires you, if any part of the communication was written, to
        identity the document or documents which refer to or evidence the communication
        and, to the extent that the communication was non-written, to identify each person
        participating in the communication and to state the date, manner, place, and
        substance of the communication; and
     5. Activity: Requires you to provide a description of each action, occurrence,
        transaction or conduct, the date it occurred, the location at which it occurred, and
        the identity of all persons involved.


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N.     The term "Claim File" means the claim files and "field file(s)," whether kept in
       paper or electronic format, including but not limited to all documents, file jackets,
       file notes, claims diary or journal entries, log notes, handwritten notes, records of
       oral communications, communications, correspondence, photographs, diagrams,
       estimates, reports, recommendations, invoices, memoranda and drafts of
       documents rega'rding the Claim.

0.      The term "Underwriting File" means the entire file, including all documents and
        information used for underwriting purposes even if you did not rely on such
      · documents or information in order to make a decision regarding insuring Plaintiff's
        Property

                              NOTICE OF AUTHENTICATION

       You are advised that pursuant to Tex. R. Civ. P. 193.7, Plaintiff intends to use all
documents exchanged and produced between the parties, including but not limited to
correspondence and discovery responses during the trial of the above-entitled and
numbered cause.




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                    INTERROGATORIES TO DEFENDANT NATIONWIDE

INTERROGATORY NO. 1:
Identify all persons answering or supplying any information m answering these
interrogatories.

       ANSWER:

INTERROGATORY NO.2:
Identify all persons who were involved in evaluating Plaintiff's claim and provide the
following information for each person you identify:

       a.      their name and job title(s) as ofthe Date of Loss;
       b.      their employer; and
       c.      description of their involvement with Plaintiff's Claim.

       ANSWER:

INTERROGATORY NO.3:
If you contend that the some or all of the damages to the Property were not covered losses
under the Policy, describe:

       a.      the scope, cause and origin of the damages you contend are not covered
               losses under the Policy; and
       b.      the term(s) or exclusion(s) of the Policy you relied upon in support
               of your decision regarding the Claim.

       ANSWER:

INTERROGATORY NO. 4:
State whether the initial estimate you issued was revised or reconciled, and if so, state
what was changed and who did it.

       ANSWER:

INTERROGATORY NO. 5:
If you contend that Plaintiff did not provide you with requested information that was
required to properly evaluate Plaintiff's Claim, identify the information that was requested
and not provided, and the dates you made those request(s).

       ANSWER:




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INTERROGATORY NO. 6:
If you contend that Plaintiffs acts or omissions voided, nullified, waived, or breached the
Policy in any way, state the factual basis for your contention(s).

        ANSWER:

INTERROGATORY NO.7:
If you contend that Plaintiff failed to satisfy a condition precedent or covenant of the Policy
in any way, state the factual basis for your contention(s).

        ANSWER:

INTERROGATORY NO. 8:
Identify the date you first anticipated litigation.

        ANSWER:

INTERROGATORY NO. 9:
State the factual basis for each of your affirmative defenses.

        ANSWER:

INTERROGATORY NO. 10:
If you contend that Plaintiff failed to provide proper notice of the claim made the basis of
this lawsuit, describe how the notice was deficient, and identify any resulting prejudice.

        ANSWER:

INTERROGATORY NO.ll:
If you contend that Plaintiff failed to mitigate damages, describe how Plaintiff failed to do
so, and identify any resulting prejudice.

        ANSWER:

INTERROGATORY NO. 12:
Identify all items on the claim made the basis of this Lawsuit to which Defendant
applied depreciation, stating for each item the criteria used and the age of the item.

        ANSWER:




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              REQUEST FOR PRODUCTION TO DEFENDANT NATIONWIDE

REQUEST FOR PRODUCTION NO. 1
Produce a certified copy of all Policies you issued to Plaintiff for the Property that
were in effect on the Date of Loss.

       RESPONSE:

REQUEST FOR PRODUCTION NO.2
If you contend that any prior claims Plaintiff submitted for damages to the Property
affected your decision in relation to the Claim at issue, produce a certified copy of all
policies you issued to Plaintiff for the Property that were in effect during the handling of
those claim(s).

       RESPONSE:

REQUEST FOR PRODUCTION NO. 3
Produce a copy of the declarations pages you issued for the Property in the three (3) years
preceding the Dates of Loss.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 4
Produce your complete Underwriting File for Plaintiff's policy of insurance with you.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 5
Produce the complete Claim File including all documents and communications
regarding the Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 6
Produce the Claim Files regarding the Claim of any third-party you hired and/or
retained to investigate, consult on, handle, and/or adjust the Claim.

       RESPONSE:
                                \
REQUEST FOR PRODUCTION NO. 7
If you contend that any prior claims Plaintiff submitted for damages to the Property
affected your decision in relation to the Claim at issue, produce the complete Claims File
regarding those prior claim(s).

       RESPONSE:



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REQUEST FOR PRODUCTION NO. 8
Produce all documents Plaintiff (or any other person) provided to you related to the
Claim or the Property.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 9
Produce all documents you provided to Plaintiff (or any other person) related to the
Claim or the Property.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 10
Produce all documents (including reports, surveys, appraisals, damage estimates, proof
of loss, or adjuster's report(s)) referring to the Claims, the Property or damage to the
Property.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 11
Produce color copies of all visual reproductions ofthe Property taken either prior to, at the
time of, or after the Date of Loss (including diagrams, drawings, photographs, video
                                             1
records, videotapes, or other information).

       RESPONSE:

REQUEST FOR PRODUCTION NO. 12
The file from the office of Plaintiff's insurance agent concerning Plaintiff's Property.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 13
Produce all communications between any of your claims personnel, claims handlers, field
adjusters, office adjusters, and their direct or indirect supervisors related to the
investigation, handling, and settlement of Plaintiff's Claim.

       RESPONSE:

REQUEST FOR PRODUCTION NO. 14
Produce all written communications you sent to, or received from, any independent
adjusters, engineers, contractors, estimators, consultants or other third-parties who
participated in investigating, handling, consulting on, and/or adjusting Plaintiff's Claim.

       RESPONSE:




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     REQUEST FOR PRODUCTION NO. 15
     Produce all written and/or electronic communications you sent to, or received from,
     Plaintiffs insurance agent related to the Claim, the Property, the Plaintiff, or this
     Lawsuit.

            RESPONSE:

     REQUEST FOR PRODUCTION NO. 16
     Produce all written and/or electronic communications you sent to, or received from, any
     local, state, or governmental entity related to the Claim, the Property, the Plaintiff, or
     this Lawsuit.

            RESPONSE:

     REQUEST FOR PRODUCTION NO. 17
     Produce all written and/or electronic communications you sent to, or received, from
     Plaintiff and/or any other named insured on the Policy related to the Claim, the Property,
     or this Lawsuit.

            RESPONSE:

     REQUEST FOR PRODUCTION NO. 18
     Produce the personnel file for anyone you (or an adjusting firm) assigned to participate in
     evaluating damage to Plaintiffs Property, including performance reviews/evaluations.
     This request is limited to the three (3) years prior to the Dates of Loss and one (I) year
     after the Dates of Loss.

            RESPONSE:

     REQUEST FOR PRODUCTION NO. 19
     Produce your claim handling manual(s) (including operating guidelines) in effect on the
     Dates of Loss related to your claims practices, procedures and standards for property losses
     and/or wind and hail storm claims, for persons handling claims on your behalf.

            RESPONSE:

     REQUEST FOR PRODUCTION NO. 20
     Produce your property claims training manual and materials in effect on the Dates of
     Loss, for persons handling, investigating and adjusting claims.

            RESPONSE:




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     REQUEST FOR PRODUCTION NO. 21
     Produce all bulletins, notices, directives, memoranda, internal newsletters, publications,
     letters and alerts directed to all persons acting on your behalf that were issued from six (6)
     months before and after the Date of Loss related to the handling of wind or hail storm
     claims in connection with the storm at issue.

            RESPONSE:

     REQUEST FOR PRODUCTION NO. 22
     Produce the contract(s), agreement(s) and/or written understanding(s) with any
     independent adjusters or adjusting firms who you retained to investigate, handle and/or
     adjust Plaintiffs Claim on your behalfthat were in effect on the Date of Loss.

            RESPONSE:

     REQUEST FOR PRODUCTION NO. 23
     Produce the contract(s), agreement(s) and/or written understanding(s) with any engineers
     and/or engineering firms you retained to investigate, handle and/or adjust Plaintiffs Claim
     on your behalf that were in effect at the time of his/her investigation, handling and/or
     adjustment of Plaintiffs claim, either pre or post-lawsuit.

            RESPONSE:

     REQUEST FOR PRODUCTION NO. 24
     Produce the "Pay sheet," "Payment Log," or list of payments made on Plaintiffs Claim,
     including all indemnity, claim expenses and payments made to third-parties.

            RESPONSE:

     REQUEST FOR PRODUCTION NO. 25
     Produce all billing statements, including billing detail, showing the amounts you paid or
     for which you were billed by any independent adjusters or adjusting firms who inspected
     Plaintiffs Property in connection with the Claim.

            RESPONSE:

     REQUEST FOR PRODUCTION NO. 26
     Produce all billing detail showing the amounts you paid or for which you were billed by
     any engineer and/or engineering firm who inspected Plaintiffs Property in connection with
     the Claim, whether pre or post-lawsuit.

            RESPONSE:




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         REQUEST FOR PRODUCTION NO. 27
         Produce all estimates, reports, or memoranda, including drafts of the same, created for
         you or by any independent adjusters or adjusting firms in connection with the Claim.

                RESPONSE:

         REQUEST FOR PRODUCTION NO. 28
         Produce all estimates, reports, or memoranda, including drafts of the same, created for
         you by any engineers and/or engineering firms in connection with the Claim.

                RESPONSE:

         REQUEST FOR PRODUCTION NO. 29
         Produce all statements given by anyone, oral or written, to you or any of your agents,
         related to Plaintiffs Claim and/or any issue in Plaintiffs live petition,

                RESPONSE:

         REQUEST FOR PRODUCTION NO. 30
         Pursuant to the applicable rules of evidence, produce all documents evidencing
         conviction of a crime which you intend to use as evidence to impeach any party or
         witness.

                RESPONSE:

         REQUEST FOR PRODUCTION NO. 31
         Produce the entire file of any testifying expert. This includes all bills, correspondence, e-
         mails, field notes, photographs, drawings, and diagrams.

                RESPONSE:

         REQUEST FOR PRODUCTION NO. 32
         The complete underwriting file for the Property, including any photographs, diagrams,
         drawings, or inspection reports.

                RESPONSE:

         REQUEST FOR PRODUCTION NO. 33
         Produce all documents you identified, referred to, or relied upon in answering Plaintiffs
         interrogatories.

                RESPONSE:




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              REQUEST FOR PRODUCTION NO. 34
              Produce all non-privileged documents you identified, referred to, or relied upon in
              developing, answering, and/or formulating your Answer and/or Affirmative Defenses to
              Plaintiffs live petition.

                     RESPONSE:

              REQUEST FOR PRODUCTION NO. 35
              Produce copies of all documents you intend to offer as evidence at the trial of this matter.

                     RESPONSE:

              REQUEST FOR PRODUCTION NO. 36
              Produce copies of all documents relating to your declaration of the storm alleged to have
              caused damage to Plaintiffs Property as a "catastrophe."

                     RESPONSE:

              REQUEST FOR PRODUCTION NO. 37
              Produce copies of your engagement letter/fee agreement between you (or whatever
              entity or person is paying your attorney's fee bills) and your attorneys in this matter.

                     RESPONSE:

              REQUEST FOR PRODUCTION NO. 38
              Produce copies of your attorney's[s'] fee bills in this matter.

                     RESPONSE:

              REQUEST FOR PRODUCTION NO. 39
              If this claim involves reinsurance, produce copies of the policy or agreement pertaining
              to that reinsurance.

                     RESPONSE:

              REQUEST FOR PRODUCTION NO. 40
              If an attorney was involved in evaluating payment or coverage of Plaintiffs Claim
              pre-suit, provide all documents relating to that evaluation or recommendation.

                     RESPONSE:

              REQUEST FOR PRODUCTION NO. 41
              Produce copies of any recorded stateinent(s), recorded phone calls, voicemails,
              Examinations Under Oath or any other statement related to the Claim.

                     RESPONSE:


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                REQUEST FOR PRODUCTION NO. 41
                Produce copies of any adjusting license(s) held by Ryan Curtis.

                       RESPONSE:

                               REQUEST FOR ADMISSIONS TO DEFENDANT NATIONWIDE

                REQUEST FOR ADMISSION NO.1:
                Admit that on Dates of Loss the Property sustained damages caused by a windstorm.

                       RESPONSE:

                REQUEST FOR ADMISSION NO. 2:
                Admit that on Dates of Loss the Property sustained damages caused by a hailstorm.

                       RESPONSE:

                REQUEST FOR ADMISSION NO. 3:
                Admit that as ofthe Dates of Loss the Policy was in full force and effect.

                       RESPONSE:

                REQUEST FOR ADMISSION NO. 4:
                Admit that as of the Dates of Loss all premiums were fully satisfied under the Policy.

                       RESPONSE:

                REQUEST FOR ADMISSION NO. 5:
                Admit that the Policy is a replacement cost value policy.

                       RESPONSE:

                REQUEST FOR ADMISSION NO. 6:
                Admit that the Policy is an actual cash value policy.

                       RESPONSE:

                REQUEST FOR ADMISSION NO. 7:
                Admit that aside from the Claims at issue, Plaintiff has never previously submitted a claim
                to you for damage to the Property.

                       RESPONSE:




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          REQUEST FOR ADMISSION NO. 8:
          Admit that you did not request a Sworn Proof of Loss from Plaintiff in connection
          with the Claim at issue.

                 RESPONSE:

         . REQUEST FOR ADMISSION NO. 9:
           Admit that you did not request a Sworn Proof of Loss from any other named insured
           on the Policy in connection with the Claim at issue.

                 RESPONSE:

          REQUEST FOR ADMISSION NO. 10:
          Admit that Plaintifftimely submitted the Claim.

                 RESPONSE:

          REQUEST FOR ADMISSION NO. 11:
          Admit that your decision to deny or partially deny Plaintiffs Claim was made in whole or
          in part on the basis that third parties were responsible for causing damages to the Property.

                 RESPONSE:

          REQUEST FOR ADMISSION NO. 12:
          Admit that Defendant's decision to deny or partially deny Plaintiffs Claim was made in
          whole or in part on the basis that the claimed damages are not covered by the Policy.

                 RESPONSE:

          REQUEST FOR ADMISSION NO. 13:
          Admit that Defendant's decision to deny or partially deny Plaintiffs Claim was made in
          whole or in part on the timeliness ofthe Claim's submission.

                 RESPONSE:

           REQUEST FOR ADMISSION NO. 14:
           Admit that you depreciated the costs oflabor when determining the actual cash value
           of the Claim at issue.

                  RESPONSE:

           REQUEST FOR ADMISSION NO. 15:
           Admit that the adjuster assigned to investigate the Claim did not review the underwriting
           file at any time during the adjustment of the Claim.

                  RESPONSE:


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                REQUEST.FOR ADMISSION NO. 16:
                Admit that the Claim was reviewed by persons other than people who actually inspected
                the Property.

                       RESPONSE:

                REQUEST FOR ADMISSION NO. 17:
                Admit that you reinsured the risk under Plaintiff's Policy.

                       RESPONSE:

                REQUEST FOR ADMISSION NO. 18:
                Admit Ryan Curtis did not hold a valid Texas insurance adjusting license when he was
                adjusting Plaintiff's calim,

                       RESPONSE:




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                                     . Directed To: NATIONWIDE PROPERTY &CASUALTY INSURANCE COMPANY
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                                                  . COMPANY
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